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Information to identify the case:
Debtor 1
                       Hector Grass Jr.                                              Social Security number or ITIN   xxx−xx−7890
                                                                                     EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                             Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                  EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of Florida

Case number:          22−19554−RAM


Order of Discharge                                                                                                                  12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

          Hector Grass Jr.



             June 28, 2023
                                                                     By the court:
                                                                                     Robert A Mark
                                                                                     United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                              This order does not prevent debtors from paying
and it does not determine how much money, if                                any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                        debts according to the reaffirmation agreement.
                                                                            11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                   Most debts are discharged
attempt to collect a discharged debt from the                               Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                  all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                             personal liability for debts owed before the
or otherwise try to collect from the debtors                                debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                            Also, if this case began under a different chapter
in any attempt to collect the debt personally.                              of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                            to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                 are discharged.

However, a creditor with a lien may enforce a                               In a case involving community property: Special
claim against the debtors' property subject to that                         rules protect certain community property owned
lien unless the lien was avoided or eliminated.                             by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                               not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                          For more information, see page 2 >




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Some debts are not discharged                           Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:          agreement are not discharged.

     ♦ debts that are domestic support                  In addition, this discharge does not stop
       obligations;                                     creditors from collecting from anyone else who is
                                                        also liable on the debt, such as an insurance
                                                        company or a person who cosigned or
     ♦ debts for most student loans;                    guaranteed a loan.


     ♦ debts for most taxes;
                                                         This information is only a general summary
     ♦ debts that the bankruptcy court has               of the bankruptcy discharge; some
       decided or will decide are not discharged         exceptions exist. Because the law is
       in this bankruptcy case;                          complicated, you should consult an
                                                         attorney to determine the exact effect of the
                                                         discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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